                   Case 1:21-cv-05237-VEC Document 40 Filed USDC     11/13/21
                                                                            SDNY Page 1 of 1
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      UNITED STATES DISTRICT COURT                                   DATE FILED: 
      SOUTHERN DISTRICT OF NEW YORK
      ---------------------------------------------------------X
      EXCLUSIVITY OF LUXURY, LLC,
                                                                 Civil Case No. 1:21-cv-05237 (VEC)
                                          Plaintiff,

                                                                   DEFAULT JUDGMENT
                       - against -

      ILAN KORCHMAR and
      ALEKSANDR KORCHMAR, individually,
      and d/b/a KORCHMAR IMPORTS, LLC,

                                          Defendants.
      ---------------------------------------------------------X

              This action having been commenced on June 15, 2021 by the filing of the Summons and

      Complaint, and a copy of the Summons and Complaint having been personally served on the

      defendant, Aleksandr Korchmar, on June 17, 2021 by delivering a copy of the summons and

      complaint to him personally and proof of service having been filed on June 23, 2021 and the

      defendant not having answered the Complaint, and the time for answering the Complaint, having

      expired, it is

              ORDERED, ADJUDGED AND DECREED: That the plaintiff have judgment against

      defendant Aleksandr Korchmar in the liquidated amount of $159,240.00 with interest at 9% from

      March 29, 2019 WR1RYHPEHUamounting to $______________plus
                                                                   costs and disbursements

      of this action in the amount of ________________amounting
                                                                         
                                                                  in all to $_____________________.



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$FFRUGLQJO\WKH&OHUNRI&RXUWLVUHVSHFWIXOO\GLUHFWHGWRWHUPLQDWH,ODQ.RUFKPDUDQG.RUFKPDU,PSRUWV//&DV
GHIHQGDQWVDQGWRFORVHWKLVFDVH


       SO ORDERED.


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       HON. VALERIE CAPRONI
       UNITED STATES DISTRICT JUDGE
